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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

COLOR EVENTS, BV,                         )
                                          )
            Petitioner,                   )                 Case No: 6:18-cv-00648-RBD-DCI
                                          )
      v.                                  )
                                          )
MULTI TALENT AGENCY, INC.                 )
                                          )
            Respondent.                   )
_________________________________________ )

                                  JUDGMENT BY DEFAULT

          Default was entered against respondent Multi Talent Agency, Inc. (“MTA”) on August 8,

2018 [ECF No. 19]. Petitioner Color Events, BV (“Color Events”) has requested entry of

judgment by default and has filed a declaration of the amount due. Furthermore, it appears from

the record that MTA is a Florida corporation and therefore nether a minor nor an incompetent

person.      Therefore, pursuant to Fed. R. Civ. P. 55(b)(1), judgment is entered against the

respondent MTA and in favor of petitioner Color Events as follows:

          Petitioner Color Events, BV, with its principal place of business at One Liberty Place,

1650 Market Street, 56th Floor, Philadelphia, PA 19103, shall recover from respondent Multi

Talent Agency, Inc., with its principal place of business at 1621 E. Hillcrest Street, Orlando, FL

32803, the amount of $310,708.28 plus post-judgment interest at a rate of ten percent (10%) per

annum along with costs, for which execution shall issue.


                                              CLERK OF THE COURT


Date: ____________________                    __________________________________
                                                 Signature of Clerk or Deputy Clerk
Copies furnished to: Counsel of Record
                     Multi Talent Agency, c/o Stephen Ferguson


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